     Case 1:18-cv-05391-SCJ Document 162 Filed 12/16/19 Page 1 of 2




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


FAIR FIGHT ACTION, INC., et al.,

     Plaintiffs,                                 CIVIL ACTION FILE

                                                 NO. 1:18-CV-5391-SCJ
v.

BRAD RAFFENSPERGER, et al.,

     Defendants.




                                      ORDER

        The Court will hold a hearing on Plaintiffs’ Motion for a Temporary

Restraining Order and Preliminary Injunction (Doc. No. [159]) on THURSDAY,

DECEMBER 19, 2019 at 2:00 P.M. The following expedited briefing schedule

shall    govern.     Defendants   shall   file   a   response   brief   by   5   P.M.,

DECEMBER 17, 2019.         In the interim and pursuant to the Court’s inherent

authority to control the litigation and the conduct of litigants, the Court further

ORDERS that Defendants shall maintain the status quo (i.e., no voter purge) in
    Case 1:18-cv-05391-SCJ Document 162 Filed 12/16/19 Page 2 of 2




order to allow the Court sufficient time to hold the above-stated hearing and

issue a proper ruling.1

                               16th day of December, 2019.
       IT IS SO ORDERED this _______


                                        s/Steve C. Jones
                                       _____________________________________
                                       HONORABLE STEVE C. JONES
                                       UNITED STATES DISTRICT JUDGE




1
  See generally Martin v. Automobili Lamborghini Exclusive, Inc., 307 F.3d 1332, 1335
(11th Cir. 2002) (discussing inherent authority).
                                       2
